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United States Court of Appeals
       for the Third Circuit
                      CASE NO. 23-1094

                      ________________________

   PORT HAMILTON REFINING AND TRANSPORTATION, LLLP

                          PETITIONER,

                                  VS.

   UNITED STATES ENVIRONMENTAL PROTECTION AGENCY,

                         RESPONDENT.
                   ________________________

               PRINCIPAL BRIEF OF
PORT HAMILTON REFINING AND TRANSPORTATION, LLLP

    On review from the November 16, 2022 Determination
           of the Environmental Protection Agency


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 CORPORATE DISCLOSURE STATEMENT AND STATEMENT
OF FINANCIAL INTEREST PURSUANT TO FED. R. APP. P. 26.1

     Port Hamilton Refining and Transportation, LLLP has no parent

company and no other publicly owned company owns more than 10% of

its membership units. It knows of no other publicly held company that

holds a financial interest in the outcome of this proceeding.
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                             JURISDICTION

      In accordance with Section 307(b)(1) of the Clean Air Act, 42 U.S.C.

§ 7607(b)(1) (2018), this Court has jurisdiction to review the final agency

action described in the U.S. Environmental Protection Agency’s (“EPA’s”)

November 16, 2022 determination (“2022 Determination”) that Port

Hamilton Refining and Transportation, LLC (“Port Hamilton”) must

obtain a permit issued under the Prevention of Significant Deterioration

(“PSD”) provisions of the Clean Air Act, 42 U.S.C. §§ 7460-7492, before

resuming operations at the St. Croix refinery (or “refinery”).

      On January 20, 2023, the Court requested that the parties brief

whether EPA’s 2022 Determination was a final agency action. The

parties did so in briefs submitted on February 3, 2023, and both parties

agree that the 2022 Determination was a final agency action. On

February 6, 2023, the parties were ordered to address this issue in the

merits briefs to be filed with the Court. In accordance with that order,

Port Hamilton addresses this issue in Section IV of the Argument section

of this brief.

      On January 13, 2023, Port Hamilton timely filed a petition for

review with this Court.



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      STATEMENT OF ISSUES PRESENTED FOR REVIEW

     1.    Under the Clean Air Act, only newly constructed refineries

and refineries that undergo certain major modifications must comply

with the PSD requirements of the Clean Air Act. EPA insists that the St.

Croix refinery must obtain a new PSD permit not because it is

undergoing new construction or a major modification. Rather, EPA wants

to treat the decades-old refinery as “new” because the refinery is seeking

to resume operations after an extended period of not processing refined

products. Is it contrary to law for EPA to attempt to expand the scope of

PSD requirements to a refinery not covered by the plain language of the

statute?

     2.    When an agency determines that an entity is not subject to a

regulatory program, it cannot subsequently change that determination

unless it discovers new facts or information sufficient to justify the

change. In 2018, EPA determined that even under its extra-statutory

expansion of the PSD requirements, the St. Croix refinery still was not

subject to the PSD standards. Did EPA act in an arbitrary and capricious

manner in 2022 when it used essentially the same facts it had in 2018




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and reached the exact opposite conclusion, requiring the refinery to

comply with the PSD standards for new construction?

      3.    An agency is permitted to change, or even reverse, a prior

agency action, but its ability to do so is significantly constrained if a party

has acted in reliance upon the prior action. In reliance upon EPA’s 2018

Determination, Port Hamilton made a $62 million purchase and then

spent more than that amount to maintain the refinery’s readiness to

resume operations, only to have that earlier decision reversed in EPA’s

2022 Determination. Should this Court vacate EPA’s reversal of its 2018

Determination because it violates Port Hamilton’s protected reliance

interests and should therefore be vacated?

      4.    An agency action is final, providing the Court with

jurisdiction to review the action, if it marks the consummation of the

agency’s decision-making process and is one by which rights or

obligations have been determined, or from which legal consequences will

flow. EPA’s 2022 Determination prohibits Port Hamilton from resuming

operations at the refinery without first going through a multi-year PSD

permitting process. Was EPA’s 2022 Determination a final agency action,

providing this Court with jurisdiction to review that action?



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     STATEMENT OF RELATED CASES AND PROCEEDINGS

     This proceeding has not been before this court previously.

Petitioner is not aware of any other case or proceeding that is in any way

related, completed, pending or about to be presented before this court or

any other court or agency, territorial, state, or federal forum.

                            BACKGROUND

     This proceeding arises because EPA unjustifiably reversed long-

standing authority it had provided to the St. Croix refinery to resume

operations under its existing environmental permits.

I.   THE PREVENTION OF SIGNIFICANT DETERIORATION
     PROGRAM

     The PSD program requires operators of “major emitting source[s]”

of pollution in attainment areas—areas that meet federal ambient air

quality standards—to obtain a permit from the state or EPA before

“constructing” a “major emitting facility” that is expected to cause a

significant net emission increase of certain types of common air




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pollutants. See 42 U.S.C. § 7475(a). “Constructing,” in this context, is

statutorily defined to include a “modification.” 42 U.S.C. § 7411(a).1

      EPA does not claim that the resumption of refining operations at

the St. Croix refinery falls within the statutory definition of

“modification.” Instead, EPA claims that the refinery should be treated

as “new” and thus subject to the PSD permitting requirements because

of EPA’s tortured interpretation of the phrase “construction is

commenced after August 7, 1977.” Id. § 7475(a). According to EPA, the

St. Croix refinery was shut down, and its resumption of operations of the

facility is equivalent to “commencing construction.”

II.   EPA’S ERSATZ REACTIVATION POLICY

      EPA was not content with following Congress’ mandate requiring

the agency to apply PSD requirements to only newly constructed

refineries and refineries that undergo major modifications (as Congress

had defined the terms within the Clean Air Act). See id. § 7411(a)(1), (4)

(defining the terms “new source” of stationary emissions and




1 Section 7411(a)(4) defines a “modification” as “any physical change in,
or change in the method of operation of, a stationary source which
increases the amount of any air pollutant emitted by such source or which
results in the emission of any air pollutant not previously emitted.”

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“modification”). In EPA’s view, “new construction” should also mean “old

construction” if the old construction was shut down for some undefined

period of time. But EPA did not go back to Congress and ask it to amend

the law. Nor did EPA use the Administrative Procedure Act—with its

notice and public comment requirements—to adopt a regulation giving

an expansive definition of “new construction” that included “old

construction.”2 See 5 U.S.C. § 553. Instead, EPA has simply informally

adopted its own interpretation of the law that it will not submit to

regulatory review.

     It would be a misnomer to refer to this unwritten rule as a “policy.”

It has never been formally adopted by EPA, and it can be discerned only

by reviewing case-specific Agency decisions related to whether PSD

permit requirements apply to the reactivation of an air emission source

that has been shut down. See generally Appx.-78, Ex. D3 at 4-12


2 This is not to suggest that such a regulation would be an appropriate
interpretation of the Clean Air Act.
3Port Hamilton is filing with this brief an appendix consisting of exhibits
that are either: listed by the United States as being part of the
Administrative Record (Exhibits A, C, D, and F); other official
government records (Exhibits H, I, J, K and L); part of Port Hamilton’s
argument on reliance interests (Exhibits A, C, D, E and N); or part of Port
Hamilton’s jurisdictional argument on final agency action (Exhibits A, B,
and F).

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(“November 2020 EPA Response to Comments on the Clean Air Act

Plantwide Applicability Limit Permit for the Limetree Bay Terminal and

Limetree Bay Refining” or “2020 Response to Comments”). Indeed, the

last official EPA pronouncement related to the “policy” until the 2022

Determination was a repudiation of it as evidenced in its 2020 Response

to Comments:

     [T]he Agency has determined it is not appropriate to continue
     applying the Reactivation Policy because the policy was not
     well-grounded in the NSR [(New Source Review)] regulations,
     and it is not supported by the current NSR regulations. In
     addition, the Reactivation Policy is difficult to follow and can
     produce inconsistent results based on subjective judgments
     about how to weigh the various factors against each other.

Id. at 6. Despite this repudiation of the ersatz policy, EPA nevertheless

elected to apply the unwritten—now repudiated—policy to Port

Hamilton.

     The policy provides that an air emission source that is shut down

for two or more years is presumed to be permanently shut down and can

be subject to PSD permitting requirements upon restart. See In the

Matter of Monroe Elec. Generating Entergy Louisiana, Inc., Proposed

Operating Permit, Petition No. 6-99-2 (June 11, 1999). The policy further

provides, however, that this presumption of a permanent shutdown after



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two years can be rebutted, such that an idled or temporarily shut down

refinery may resume operation within the parameters of its existing

permits. Id. Indeed, EPA has concluded that shutdowns lasting eight to

ten years do not necessarily require PSD permits to resume operations.

See Argument II.A.i, infra.

     Ultimately, EPA’s judgment on whether a refinery permanently

shut down “depends on the intent[ion] of the owner or operator at the time

of shut[ ]down based on all facts and circumstances.” In re Monroe at 9. To

ascertain the owner or operator’s intent, EPA may examine factors such

as: (1) the amount of time the facility has been out of operation; (2) the

reason for the shutdown; (3) the statements made by the owner or operator

concerning their intent; (4) the cost and time required to reactivate the

facility; (5) the status of permits; and (6) the ongoing maintenance and

inspections that have been conducted during the shutdown. Id. at 8-9.

However, “no single factor is likely to be conclusive” in EPA’s assessment,

and “the final determination will often involve a judgement as to whether

the owner’s or operator’s actions at the facility during shut[ ]down support

or refute any express statements regarding the owner’s or operator’s

intentions.” Id. at 9. Owners and operators also may “preserve their ability



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to reopen without a new source permit” if they “continuously demonstrate

concrete plans to resume operations at the facility sometime in the

reasonably foreseeable future.” Id.

III. EPA’S 2018 DETERMINATION.

     The St. Croix refinery (the “refinery”) was opened in 1966. In 2012,

after almost five decades of operation, a previous owner of the refinery,

HOVENSA, LLC (“Hovensa”), decided to idle it due to an economic

downturn. Four years later, in January 2016, Hovensa sold the still-idled

refinery to Limetree Bay Terminals, LLC, which later conveyed the

refinery to an affiliate, Limetree Bay Refining, LLC (“Limetree Bay”). See

Appx.-64, Ex. B (Chambers’ First Decl.) at ¶3. Throughout this entire

period, Hovensa maintained the refinery in an idled state and continued

to operate certain parts of the refinery, including its gas turbines and

wastewater treatment plant. Id. Between 2012 and 2016, Hovensa spent

roughly $400 million on maintaining and inspecting the facility, keeping

its permits (including payment of permit fees) to ensure that the refinery

would be able to resume operations. See Appx.-78, Ex. D at 11.

     On April 5, 2018, EPA issued a determination to Limetree Bay

stating that resuming operations from its idled status “[would] not result



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in the facility being viewed as a new stationary source under EPA’s

current so-called Reactivation Policy.” See Appx.-69, Ex. C at 1 (2018

Determination). EPA’s 2018 Determination meant the refinery could

resume operations without the need to first obtain a new PSD permit.

     EPA repeated and reinforced the 2018 Determination in 2020 when

it responded to comments on another type of permit being proposed for

the St. Croix refinery. See Appx-78, Ex. D. In the response, EPA

Administrator Andrew Wheeler announced the Agency would no longer

be applying its Reactivation Policy. Id. at 9. (“EPA no longer believes that

the Reactivation Policy is an appropriate policy, and the Agency is not

required to apply it to any source, including the Limetree Bay facility.”).

Administrator Wheeler went on to find that it would have reached the

same conclusion as the 2018 Determination if the policy were still in

effect. Id. at 12 (“Considering the totality of the circumstances, were EPA




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to apply the Reactivation Policy, EPA would continue to find the

presumption of permanent shutdown has been rebutted in this case.”).4

        Armed with these assurances and support from EPA, Limetree Bay

subsequently resumed operations at the St. Croix refinery in September

2020, and operated the refinery until May 2021, when it was again idled.

This initial resumption of operations would have been impossible had the

refinery not been maintained in an idled state since 2012 or if EPA had

taken a position that the refinery had not been in an idled state since

2012.

        In reliance upon EPA’s 2018 Determination and EPA’s subsequent

public statements and actions, Port Hamilton purchased the St. Croix

refinery in January 2022, with plans to resume operations at the refinery

from its idled status as soon as practicable, targeting the end of 2023. See

Appx-21, Ex. A. at 10.




4 On March 25, 2021, EPA Administrator Michael Regan withdrew the
Plantwide Applicability Limit Permit for the St. Croix refinery. Letter
from Admin. Michael Regan to Gov. Albert Bryan, Jr. (Mar. 25, 2021); see
U.S. Env’t Prot. Agency, Notice of Withdrawal of Plantwide Applicability
Limit Permit for Limetree Bay Terminals, LLC (Mar. 25, 2021). Although
EPA indicated that it was also withdrawing the permit’s administrative
record, EPA did not specifically reinstate its Reactivation Policy.

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IV.   EPA’S 2022 DETERMINATION.

      On November 16, 2022, EPA brought Port Hamilton’s restart plans

to a screeching halt. Citing its ersatz Reactivation Policy, the Agency

issued a letter stating that Port Hamilton would have to obtain a PSD

permit prior to resuming operations at the refinery. See Appx-21, Ex. A

at 3. Openly reversing its 2018 Determination, the agency “conclude[d]

that the refinery was permanently shut down in 2012” and that resuming

operations at the refinery qualifies as construction of a new major

stationary source under the federal PSD permitting regulations

applicable in the U.S. Virgin Islands.” Id. EPA was unequivocal in its

decision: “The refinery must apply to EPA for, and receive, a final and

effective PSD permit for these pollutants prior to [resuming operations]

at . . . the refinery as defined in” 40 C.F.R. pt. 52.21(b)(11). Id. at 4.

      Until the 2022 Determination was issued, Port Hamilton was

moving forward with plans to resume operations at the refinery from its

idled status. Appx-64, Ex. B at ¶11. The 2022 Determination, however,

prohibits Port Hamilton from performing necessary work to resume

operations at the refinery without first obtaining a PSD permit. Appx-21,

Ex. A at 5. Based on past precedent, obtaining such a permit from EPA



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is likely to be a two-to-three-year process, typically followed by an

additional year or so to undertake final preparations to prepare for

resuming operations at the refinery. See Appx-315, Ex. N ¶10 (Del Valle

Decl.). EPA also asserts that these steps must occur sequentially—one

must apply for—and obtain—the permit before construction work can

begin. See Appx-21, Ex. A. Consequently, under EPA’s approach, the St.

Croix refinery could not resume operations at until 2026 or later,

assuming EPA would issue the PSD permit it contends is needed to

resume operations at the refinery. Appx-315, Ex. N ¶10.

                       SUMMARY OF ARGUMENT

     EPA has no discretion to pursue approaches that are facially

inconsistent with the Congressional mandates of the Clean Air Act and

other environmental statutes. Yet that is exactly what EPA has done at

the St. Croix refinery. In an illegal effort to expand the scope of the PSD

program, EPA attempts to characterize as “new” a refinery that has been

in existence for almost sixty years, most recently in an idle mode awaiting

the resumption of operations. But the plain language of the statute

prohibits such an expansion. Under 40 U.S.C. § 7475(a), the PSD

program unambiguously applies only to either (a) a newly constructed



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refinery or (b) a refinery that undergoes a major modification that results

in net increase in regulated emissions. The St. Croix refinery is neither.

The origins of what EPA refers to as its “so-called policy” are what one

would expect from an ultra vires undertaking—it does not exist in a

separate document, and its concepts never went through public notice

and comment following publication in the Federal Register. Instead, its

ephemeral    existence     resides     only   in   case-specific,    subjective

determinations EPA has made over the years based on speculating about

the intentions of the owners or operators of an idled or shut down facility.

As EPA itself recognized only a few years ago when it abandoned the

policy, such speculative and subjective endeavors are inevitably fraught

with inconsistencies.

     That prediction turned out to be quite prescient, as EPA last fall

reversed its earlier determination that the St. Croix refinery could

restart without going through the burdensome and time-consuming PSD

permitting process. Based on essentially the same set of facts, EPA did

an abrupt about-face and admonished the refinery not to resume

operations before embarking on a multi-year permitting process to secure

the same PSD permit the Agency determined was unnecessary only four



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years earlier. Indeed, EPA had not only authorized the restart of the

refinery, it also subsequently oversaw a prior owner as it pursued a

restart EPA had authorized.

     When Port Hamilton purchased the St. Croix refinery less than

two years later, it did so confident that EPA would honor the positions

it had taken from the application of its clandestine policy. EPA had

definitively determined in 2018 that PSD permitting would not be

necessary, and in 2020 EPA confirmed that determination while pulling

the plug on future use of what it recognized as a flawed and subjective

policy. Now EPA asserts that it had put a marker down to all prospective

buyers that it might revive its Reactivation policy for the next purchaser

of the refinery, Port Hamilton justifiably relied on the clearer and more

definitive agency proclamations. EPA cannot negate those reliance

interests, particularly with an inconsistently applied internal policy

that is not permitted by the statute.

                               STANDING

     To satisfy Article III standing requirements, a petitioner must show

that (1) he or she has suffered an injury that is concrete, particularized,

and actual or imminent, (2) the injury was caused by the defendant, and



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(3) the injury would likely be redressed by the requested judicial relief.

Clemens v. ExecuPharm Inc., 48 F.4th 146, 152 (3d Cir. 2022).

     Here, Port Hamilton has suffered concrete, particularized, actual,

and imminent injury. If EPA’s new PSD determination is let stand, Port

Hamilton would have to endure delays and the loss of substantial

refinery revenue for two to three years. See Appx-64, Ex. B, (Chambers

Decl.) at ¶15. The length of the delay, coupled with the uncertainty

inherent in the outcome of any PSD permitting process, also jeopardizes

Port Hamilton’s plans to resume operations and threatens its very

existence. This injury is a direct consequence of EPA’s actions; it can be

redressed only if the 2022 Determination is vacated by this Court.

                              ARGUMENT

Issue I: Under the Clean Air Act, newly constructed refineries and
     refineries that undergo certain major modifications must comply
     with PSD requirements. EPA insists the refinery must obtain a new
     PSD permit not because it is new construction or has undergone a
     qualifying major modification. Rather, EPA is treating the St. Croix
     refinery as “new” construction because it is seeking to recommence
     refining operations after an extended period of not processing
     refined products. EPA’s attempt to expand the PSD requirements
     to a refinery that is not covered by the plain statutory language is
     contrary to law.




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A.    EPA’s application of the PSD requirements to a refinery that
      was not newly constructed, and did not undergo a statutorily
      defined “major modification” is contrary to law.

      Before   even     considering    EPA’s   application   of   the      ersatz

Reactivation Policy, it is necessary to return to First Principles: What

does the statute say?

      [I]n interpreting a statute a court should always turn first to
      one cardinal canon before all others. [The U.S. Supreme Court
      has] stated time and again that courts must presume that a
      legislature says in a statute what it means and means in a
      statute what it says there. When the words of a statute are
      unambiguous, then, the first canon is also the last: judicial
      inquiry is complete.


Connecticut Nat. Bank v. Germain, 503 U.S. 249, 253-254 (1992) (internal

citations and quotations omitted). See also, Gonzales v. Carhart, 550 U.S.

124, 152 (2007) (stating that when “interpreting statutory texts courts

use the ordinary meaning of terms unless context requires a different

result”).

      An agency must point to “clear congressional authorization” for the

authority it claims. See Util. Air Regul. Group v. E.P.A., 573 U.S. 302,

324 (2014); see also W. Virginia v. E.P.A., 597 U.S. __, 142 S. Ct. 2587

(2022). Agencies may exercise discretion only in the interstices created

by statutory silence or ambiguity; even then, they must always give effect


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to the “unambiguously expressed intent of Congress.” Util. Air Regul.

Grp., 573 U.S. at 326.

     In enacting the Clean Air Act, Congress was clear and

unambiguous regarding the circumstances under which EPA could

require compliance with the PSD program: when a major emitting facility

is either (1) newly constructed, or (2) goes through a major modification

that results in a significant increase in net emissions of certain regulated

pollutants. 42 U.S.C. §§ 7475(a), 7479(1). The 2022 Determination

contravenes Congress’s unambiguous instruction.5



5 Petitioner is not challenging EPA’s “Reactivation Policy.” The ersatz
policy is an EPA-created exception to its determination that a shutdown
refinery must go through a new PSD permitting process as if it were a
newly constructed refinery. Petitioners are challenging the EPA’s
application of 42 U.S.C. § 7475(a) to the St. Croix refinery on the grounds
that the statute does not apply to the St. Croix refinery. Further,
Petitioner is also challenging EPA’s application of that policy to justify
its 2022 Determination. See Chevron U.S.A. Inc. v. E.P.A, 45 F.4th 380
(D.C. Cir. 2022) (holding that EPA letter to operator in response to
operator’s request for guidance as to whether platforms remained subject
to Clean Air Act once decommissioning began was a local or regional
applicable action, thus venue was not proper under the Act in U.S. Court
of Appeals for the District of Columbia); see also Sierra Club v. E.P.A.,
926 F.3d 844 (D.C. Cir. 2019) (holding that U.S. Court of Appeals for the
District of Columbia was improper venue because language of challenged
order was confined to a particular permit and plant, EPA did not publish
any findings that the order was based on a determination that had a
nationwide scope or effect, and EPA’s order applied to a single permit
renewal for a single local plant).

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     In recently concluding that Port Hamilton would require a PSD

permit, EPA stated that the “proposed restart of the refinery qualifies as

construction of a new major stationary source under applicable PSD

permitting regulations.” Appx-21, Ex. A at 5 (emphasis added). A refinery

constructed in 1966 is by no means new.6

     EPA’s application of its Reactivation Policy creates a legal fiction

that the St. Croix refinery became a “new” facility for purposes of PSD

when the refinery’s units were put into a warm idle mode. EPA lacks the

authority to expand the scope of the PSD program to apply it to emission

units at the St. Croix refinery that are neither new nor modified. See

Perez v. Mortg. Bankers Ass'n, 575 U.S. 92, 97 (2015) (Absence of notice-

and-comment in issuing guidance or interpretive rules means they “do

not have the force and effect of law and are not accorded that weight in

the adjudicatory process.”).




6 Although EPA has not asserted that the idling of St. Croix refinery
should be considered a “major modification” for purposes of PSD, such
argument would fail anyway. That’s because, for existing facilities, a
“modification” is defined as any physical or operational change that
“increases the amount” of air pollutant emitted by the source. Id. §§
7479(1), 7411(a)(4).

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B.   EPA’s application of its Reactivation Policy is inconsistent
     with the agency’s own regulations.

     In its November 2020 Response to Comments, EPA acknowledged

that the “Reactivation Policy is undermined by other provisions of the

[PSD and Nonattainment New Source Review (“NNSR”)]7 regulations.”

Appx-78, Ex. D at 8. EPA recognized that the PSD and New Source

Review (“NSR”) regulations define “new emissions unit” as an emissions

unit “that is (or will be) newly constructed and that has existed for less

than [two] years,” id. (emphasis supplied) (citing 40 C.F.R. pt.

52.21(b)(7)(i)), whereas the refinery’s emission units “have clearly existed

for more than [two] years and are not newly constructed.” Id. (emphasis

added) (internal quotations removed). Therefore, “[u]nder the plain

language of this provision, the emission units at [the refinery] are

existing emissions . . . [and] [i]t would be an odd result to treat a major

stationary source made up entirely of existing emission units as new for



7The PSD permitting program applies to new and modified major sources
of emissions in areas of the United States that are in attainment with the
applicable National Ambient Air Quality Standards (“NAAQS”), 42
U.S.C. §§ 7470-7492, whereas the “Nonattainment New Source Review”
or “NNSR” program applies to new and modified major sources of
emissions in areas that are not in attainment with the NAAQS, 42 U.S.C.
§§7501-7509a. Both the PSD and NNSR programs are considered parts
of EPA’s overall New Source Review (“NSR”) program.

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purposes of determining NSR applicability.” Id. (emphasis added)

(internal citations omitted). These inconsistencies were what led EPA to

conclude that it “no longer believes that the Reactivation Policy is an

appropriate policy, and [EPA] is not required to apply it to any source,

including” the refinery. Id. at 9.8

     EPA now maintains that its Reactivation Policy allows it to treat

an existing plant such as the refinery as “new,” even if the facility is

nearly 60 years old. While acknowledging the best place to look to

determine what is “new” is “the plain meaning of the term,” id. at 29,

EPA reaches for meanings that are obscure. Specifically, EPA concedes

the common dictionary meaning of “new” means “having recently come



8 Indeed, EPA’s own regulations lack any requirement for a facility to
obtain a PSD permit prior to resuming operations; the obligation kicks in
only for commencing construction of unit that is new or about to
undertake a major modification that will increase emissions above a
certain amount. In this context, the regulations define “begin actual
construction” to mean, “in general, initiation of physical on-site
construction activities on an emissions unit which are of a permanent
nature. Such activities include, but are not limited to, installation of
building supports and foundations, laying underground pipework and
construction of permanent storage structures.” 40 C.F.R. pt. 52.21(b)(11).
Here, the refinery engaged in no such preparatory activities related to
construction or modification of its existing units. Consequently, the
refinery’s resumption of operations of its existing units falls outside of the
regulatory definition of “beginning actual construction,” which would
otherwise trigger PSD review.

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into existence” (Merriam-Webster Online Dictionary) or “not existing

before; made, introduced, or discovered recently or now for the first time”

(New Oxford American Dictionary), but argues that there could be other

permissible readings (e.g., “made or become fresh”). Id. EPA’s creative

suggestion is undermined, however, by well-established canons of

statutory construction that require courts to accept the plain meaning of

a word or phrase absent clear evidence that another interpretation was

intended. See In re Philadelphia Newspapers, LLC, 599 F.3d 298, 304 (3d

Cir. 2010) (holding that when courts cannot determine whether statutory

language is unambiguous, they must “read the statute in its ordinary and

natural sense.”) (quoting Harvard Secured Creditors Liquidation Trust

v. I.R.S., 568 F.3d 444, 451 (3d Cir. 2009)).

     EPA also suggests that, while a “modification” triggering PSD

permitting typically means “a change in the method of operation,” it could

also signal that a unit has become “new.” Appx-21, Ex. A at 33. But EPA’s

logic—that modifying a decades-old unit makes it “new”—is flawed and

nonsensical. Id. It also exposes the myth EPA is trying to perpetuate

through its Reactivation Policy: an existing, decades-old, idled plant is

somehow considered to be “new.” Id.



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     EPA argues that the 2020 Response to Comments revoking the

Reactivation Policy is no longer in effect because it was not final agency

action, and the PAL permit was never issued. Appx-21, Ex. A at 28-29.

And even if the PAL permit had taken effect on March 25, 2021, EPA

withdrew not only the PAL permit but the administrative record

supporting the PAL permit in its entirety. See id. at 29 n.4. But

withdrawing the administrative record does not address whether EPA

lost all confidence in the logic and fairness of the Policy in 2020. The fact

remains that EPA abandoned its ersatz Reactivation Policy.9

C.   EPA’s ersatz Reactivation Policy is legally unsupported.

     EPA’s two-year presumption of permanent closure lacks a legal

foundation in the Clean Air Act and its implementing regulations. As

EPA has admitted, the two-year presumption a policy the Agency created



9 If this Court allows EPA to withdraw the responses it provided to the
public regarding the Limetree Bay PAL permit, Port Hamilton
respectfully requests that this Court take judicial notice of those
responses. See Anspach v. Cty. Of Philadelphia, Dep’t of Pub. Health, 503
F.3d 256, 273 n.11 (3d Cir. 2007) (a public record may be considered “not
for the truth of its contents, but rather as evidence of the information”
that was relevant to the dispute.”); see also Oran v. Stafford, 226 F.3d
275, 289 (3d Cir. 2000) (“Federal Rule of Evidence 201 permits a court to
take judicial notice of facts that are not ‘capable of accurate and ready
determination by resort to sources whose accuracy cannot reasonably be
questioned.’”).

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was based on a provision of the PSD program that excluded temporary

emissions (i.e., construction-related emissions for two years or less). See

R. B-13 (October 9, 1979, Letter from EPA to Shell Engineering &

Associates). It defies logic for EPA to apply a policy governing the

exclusion of temporary emissions to a policy governing when a facility

will be considered a “new source” after shutting down and subsequently

resuming operations.

     The history of the two-year presumption rule helps explain EPA’s

failure to cite “any specific regulatory provision of the NSR program to

support its position on source reactivation.” Appx-69, Ex. C at 3 n.2

(internal quotations removed). Port Hamilton agrees with EPA that “it

would be better to apply an approach that is more consistent with the

text of the existing regulations, provides more certainty, and is simpler

for permitting agencies and permitees to understand and follow.” Appx-

78, Ex. D at 6.

Issue II: When an agency determines that an entity is not subject to a
     regulatory program, it cannot subsequently change that
     determination unless it discovers new facts or information
     sufficient to justify the change. In 2018, EPA determined that even
     under its extra-statutory expansion of the PSD requirements the
     St. Croix refinery still was not subject to the PSD standards. EPA
     acted arbitrarily and capriciously in 2022 when it used essentially
     the same facts it had in 2018 and reached the exact opposite


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      conclusion and required the refinery to comply with the new
      construction PSD standards.

      EPA’s 2022 Determination has all the hallmarks of an arbitrary

and capricious agency action. The agency applied an informal agency

policy that was never published in the Federal Register, leaving Port

Hamilton to speculate how EPA may apply it to the St. Croix refinery.

From 2012 through mid-2021, however, EPA was steadfast and clear

about one thing—no PSD permit would be required to restart the St.

Croix refinery. It was not until late 2021 that EPA began to signal that

the refinery might have to go through PSD permitting, and late 2022

before EPA announced it had, in fact, changed its mind about the

application of this informal policy. See Appx-21, Ex. A at 9.

      Courts will not uphold agency action where, as here, it “is arbitrary,

capricious, an abuse of discretion, otherwise not in accordance with the

law.” See 42 U.S.C. § 7607(d)(9)(A)); see also Nat’l Parks Conservation

Ass’n v. E.P.A., 803 F.3d 151, 153 (3d Cir. 2015). Courts in this Circuit

have found agency action to arbitrary and capricious, for example, where

an agency offers “only a conclusory statement which fail[s] to articulate

a rational basis for its conclusion” or where it “entirely fail[s] to consider




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an important aspect of the problem.” Sierra Club v. E.P.A., 972 F.3d 290,

298 (3d Cir. 2020) (internal quotations omitted).

D.   EPA’s 2022 Determination lacks an adequate factual basis.

     An agency action is arbitrary and capricious where, as here, the

agency fails to “articulate a satisfactory explanation for its action,

including a rational connection between the facts found and the choice

made.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto Ins., 463 U.S.

29, 43 (1983). Courts must consider “whether the [agency’s] decision was

based on a consideration of the relevant factors and whether there [was]

. . . a clear error of judg[e]ment.” Shane Meat Co., Inc. v. U.S. Dep’t of

Def., 88 F.2d 334, 337 (3d Cir. 1986). This consideration is necessary

because the “[f]ailure of the agency to address an important aspect of the

issue under [its] consideration may be fatal to its conclusion.” Id.

Moreover, if an agency incorporates additional requirements to a

statutory term that are inconsistent with its prior decisions, the agency

must announce a “principled reason” for adopting those inconsistent

requirements. Valdiviezo-Galdamez v. Attorney Gen. of the United States,

663 F.3d 582, 608 (3d Cir. 2011) (holding that federal agency acted




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arbitrarily when it revised a definition without providing a “principled

reason” for its new definition).

     In the 2022 Determination, EPA argues that “the proposed

[resumption of] operations at of the Refinery qualifies as construction of

a new major stationary source” for purposes of PSD regulations because

it had been “permanently shut down.” Appx-21, Ex. A at 5-6. EPA makes

this assertion even though it consistently claimed—in its 2018 Decision,

its 2020 Response to Comments, and a 2021 Joint Stipulation10—that the

refinery was neither shut down nor a new stationary source for purposes

of PSD regulations. See Ex C (2018 Determination); see Appx-78, Ex. D

(2020 Response to Comments); see Appx-194, Ex. E (Joint Stipulation).

EPA lacks a “principled reason” for its abrupt about-face, which therefore

should be vacated as arbitrary and capricious. See Valdiviezo-Galdamez,

663 F.3d at 608; Donovan v. Adams Steel Election, Inc., 766 F.2d 804, 807

(3d Cir. 1986) (stating that it is “settled that where an agency departs




10As discussed in Section III of the Argument, after a series of
environmental incidents forced a temporary closure of the refinery in
2021, Limetree Bay and EPA entered into a joint stipulation describing
what Limetree Bay needed to do before resuming operations; obtaining a
new PSD permit was notably absent from the listed requirements. See
Appx-194, Ex. E (Joint Stipulation).

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from established precedent without announcing a principled reason for

such a reversal, its action is arbitrary, and an abuse of discretion.”).

     EPA’s 2022 Determination reversed the agency’s two prior

decisions. The first reversal was of EPA’s conclusion, in its 2020 Response

to Comments, that it “no longer believe[d] that the Reactivation Policy is

an appropriate policy.” Appx-78, Ex. D at 9. The second reversal was of

EPA’s 2018 Determination, specific to the St. Croix refinery, in which it

decided that PSD permitting was not required for the refinery to resume

operations. See Appx-69, Ex. C. Neither of these reversals in the 2022

Determination, however, came with “principled reason[s]” to justify the

Agency’s new perspectives on the very same facility. See Valdiviezo-

Galdamez, 663 F.3d at 608.

     EPA attempts to legitimize its backtracking by suggesting it is

supported by “some information that either did not exist in 2012 or did

not become known to EPA until after issuance of EPA’s 2018 letter and

the [2020] Response to Comments . . . supporting EPA’s December 2020

final PAL permit.” Appx-21, Ex. A at 11. In doing so, EPA looks to the six

Reactivation Policy factors it used when it made its 2018 Determination.

As explained in Section III of Background, however, this evaluation does



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little to offer any new, meaningful information. Rather, as discussed

below, the Agency’s 2022 Decision for the most part simply reinterprets

the same set of facts that supported its 2018 Determination.

    i.        The length of time of refinery shutdown and the
              amount of capital expensed to restart the refinery.

         Applying its Reactivation Policy, EPA first assesses the length in

time of the refinery’s “shut[ ]down” and the amount of capital its

operators expensed to resume its operations. Id.; see also In the Matter of

Monroe Electric Generating Plant Entergy Louisiana, Inc., Proposed

Operating Permit, Petition No. 6-99-2 at 8 (June 11, 1999) (“Shut[ ]downs

of more than two years . . . are presumed to be permanent.”)). Both of

these considerations, applied to Port Hamilton and the St. Croix refinery,

reflect a clear intention for the refinery to resume operations.

         As a threshold matter, it’ important to underscore the fact that the

St. Croix refinery was never shut down; it remained in a “hot idle” state

between 2012 and 2020, when it resumed operations. Indeed,

maintaining a hot idle cost approximately $3 million per month—money

that Port Hamilton would have saved if it had in fact shut down the

refinery. See Appx-64, Ex. B at ¶14. Moreover, the prompt resumption of




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operations would have been impossible had the refinery not been

maintained in an idled state since 2012. Appx-315, Ex. N ¶6.

     In its 2018 Determination, EPA acknowledged that Hovensa

“idle[d] the [R]efinery” between 2012 and the 2016 sale to Limetree Bay

Terminals. Appx-69, Ex. C at 4. According to EPA, this was evidenced by

the fact that “the terminal . . ., wastewater treatment plant, and power

generation” continued to operate during this time-period. Id. However,

EPA’s 2022 Determination attempts to distance itself from the 2018

Determination by contending that its “2018 view that the refinery was

not permanently shut down did not contemplate that [Limetree Bay]

wouldn’t attempt to start up until late 2020, one year later than expected”

and did not “contemplate [the] $4.1 billion in costs for physical and

operational changes necessary to [resume operations at] the refinery.”

Appx-21, Ex. A at 12-13. Yet EPA never explains how a delay in 2020 of

less than a year in resuming operations from idling that began in 2012

could justify overturning the Agency’s 2018 Determination.

     EPA also claimed that Port Hamilton’s $62 million bid for a refinery

that had seen as much as $4.1 billion in investment “raises questions

about the physical, financial and regulatory viability of the facility.” Id.



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at 8. Apparently, this is because “EPA’s understanding is that restarting

the refinery would require significant construction and other physical

activities that are in addition to the substantial capital and operational

investments that Limetree completed before it attempted to restart the

refining operations.” Id. However, the amount Port Hamilton may have

initially paid for the refinery is not indicative of the total amount the new

owners expected to add to their new investment. Port Hamilton

understood that maintaining the plant in a hot idle mode and making

preparations to resume operations would likely require substantial

additional costs.

     EPA’s other efforts to manufacture a justification for its reversal

are equally unavailing. First, EPA asserts the refinery was “shut down

initially for 6 years before actual construction” and was “unable to

[resume operations] for over 8.5 years after [the 2012] shutdown.” Id. at

11. But that assertion overlooks the fact that the refinery always

remained in a “hot idle” mode, and that uninterrupted operation of its

terminal, wastewater treatment plant, and power generation units

constituted partial operation of the refinery. See Appx-69, Ex. C at 4. EPA

also states that Limetree Bay made “several unsuccessful attempts to



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start up the refinery[,] beginning in the last quarter of 2020, but repeated

problems at the refinery resulted in . . . complete cessation of operations.”

The agency itself has recognized the inaccuracy of this assertion,

however, having acknowledged that Limetree Bay resumed “production

and commercial sales” by February of 2021. Appx-21, Ex. A at 7.

     Second, EPA posits that Limetree Bay’s “failed attempts to run the

facility from late 2020 through 2021 indicate the refinery was not in

adequate condition to start up in late 2020.” Appx-21, Ex. A at 13. But

whatever conditions existed in late 2020 were known to the Agency when

it concluded in November of 2020 that, “[c]onsidering the totality of the

circumstances . . . the presumption of permanent shutdown [was] . . .

rebutted.” Record E-03 at 12. Moreover, EPA’s Reactivation Policy

focuses on the intentions of the facility to restart, which in this case were

evidenced by Limetree Bay’s substantial investments to resume

operations.

     Assuming the validity of EPA’s Reactivation Policy as “an

appropriate method for determining whether the reactivation” of a

facility qualifies as a “construction of a new source under the PSD

regulations,” Appx-21, Ex. A at 3, over forty years of inconsistent PSD



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determinations demonstrate the flaws in EPA’s approach of determining

new sources. The Policy’s fallibility, as EPA acknowledges in its 2018

Determination and 2020 Response to Comments, is a consequence of

being derived “from a series of EPA site-specific determinations and

guidance issued over the course of many years.” Appx-69, Ex. C at 3 n.2

(emphasis added).

     For example, EPA’s inconsistent determinations in the 1980s and

1990s found facilities shut down for as much as eight, nine, ten and even

eleven years to not require PSD permits to resume operations. See, e.g.,

Appx-256, Ex. H (Port Reading) (facility shut down for eight years not a

“new source”); see Appx-259, Ex. I (Watertown) (facility shut down for

nine years not a “new source”); see Appx-269, Ex. J (Noranda Lakeshore

Mines) (facility shut down for ten years not a “new source”); see also

Appx-280, Ex. L at 2 (Policy Determinations Regarding PSD Questions)

(Source shut down for 11 years would not be subject to the PSD program

if the owner demonstrates that the shutdown was not intended to be

permanent). The inconsistency in the agency’s subjective approach is

perhaps best exemplified by its Elba Island Terminal determination,

issued only one year after the Agency’s decision in Monroe Entergy, where



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the agency determined that a facility shut down for 18 years before it

resumed operations was not a “new source” required to obtain a PSD

permit. See Appx-273, Ex. K at 2 (Elba Island) (observing that the

Agency’s conclusion that “a facility commercially inactive for 18 years is

not a new source definitely extends the Reactivation Policy presumptive

rebuttal provision to its limits”).

      Also unavailing are EPA’s attempts to reframe Limetree Bay’s

investments made over the years to ensure a resumption of operations.

Looking back at the same substantial investments that EPA found

persuasive in 2020 to find an intent to restart the refinery, EPA in its

2022 Determination EPA now attempts to suggest were not in line with

what it would be expected for a restart. See Appx-21, Ex. A at 12. But

EPA has recognized that such expenditures are often necessary to ensure

a smooth resumption of operations. See Ex D at 12 (a “presumption of

permanent shut[ ]down would be rebutted in this case by evidence

showing that the source continued to operate in part and that the owners

invested substantial sums in maintenance of the idled portions of the

facility”).




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         It strains all credulity to suggest Limetree Bay’s substantial

investments toward a restart are, today, evidence of an intent to shut

down a facility, particularly since EPA knows the refinery had

operating losses of “$1.3 billion over three years” before it was idled in

2012. Appx-21, Ex. A at 14.

   ii.        Failure to continuously demonstrate concrete plans to
              restart the refinery and the cause of the shut down.

         The second and third factors of the Reactivation Policy require EPA

to determine whether a facility “continuously demonstrate[d] concrete

plans to [resume operation of] the facility sometime in the reasonably

foreseeable future” and to determine the “reason for the [facility’s]

shutdown.” In re Monroe at 9. All three owners—Hovensa, Limetree Bay,

and Port Hamilton—each advanced such restart plans. In 2018, EPA

agreed, determining from its review of the existing information “that both

[Limetree Bay and Hovensa] displayed a continuous intent to restart the

refinery,” and that the refinery “was not permanently shut down and

should not be considered a ‘new source’ for purposes of PSD applicability.”

Appx-69, Ex. C at 2. Yet when EPA reversed course in its 2022

Determination, it failed to point to any newly uncovered facts to support

the position that Hovensa or Limetree Bay lacked concrete plans to


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continue operating the refinery. Rather than presenting statements and

demonstrations from the refinery operators regarding their intentions

regarding the resumption of operations, EPA speculates about the

previous   operators’    intentions    by   reinterpreting   press    releases,

negotiation records, and unrelated correspondence, all of which has been

available to the agency since 2012.

     For example, EPA argues that Hovensa lacked the requisite intent

to resume operations at the facility because (1) Hovensa evidenced its

lack of intent to continue the plant operations when it entered into

agreements with the U.S. Virgin Islands government and Petroleos de

Venezuela, S.A (“PVDSA”) following the refinery’s closure; (2) Hovensa

filed Chapter 11 bankruptcy proceedings in 2015; and (3) a letter

Limetree Bay sent to the Governor of the U.S. Virgin Islands stated that

it intended to “refurbish, resume operations at, and operate an oil storage

terminal . . . [and explore available options for resuming petroleum

operations in the facility].” See Appx-21, Ex. A at 14. Not only does this

information fail to show an intent to shut down refinery operations, but

it was readily available at the time of EPA’s 2018 Determination.




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     Although Hovensa initially contemplated the prospect of using part

of the refinery for fuel storage after it idled the refinery in January 2012,

it was clear under an agreement with the U.S. Virgin Islands (the

“Concession Agreement”) that Hovensa was required to continue

operating the facility or find an alternative owner who would do so. See

Appx-288, Ex. M (July 12, 2013, Letter from the Governor of the U.S.

Virgin Islands to President of U.S. Virgin Islands Legislature); see also

Appx-21, Ex. A at 6 n.3. Subsequently, Hovensa and the U.S. Virgin

Islands amended the Concession Agreement to reflect the company’s

intention to sell the facility to another entity that would continue refinery

operations. See Appx-288, Ex. M.

     The history of frequent and regular activities undertaken by

Hovensa and Limetree Bay towards the refinery’s resumption of

operations further belies any suggestion that these entities intended to

permanently shut down the facility. Hovensa and Limetree Bay engaged

in monthly walk-throughs, extensive maintenance, and continued

correspondence with EPA and U.S. Virgin Islands Department of

Planning and Natural Resources (“VIDPNR”) to preserve their permits,

all of which were strong indicators of their objective to maintain the



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refinery’s ability to resume operations. See generally Appx-236, Ex. G

(Hovensa/Limetree Bay Timeline Demonstrating Intent to Restart). EPA

even acknowledged that the “timeline” Limetree Bay provided the

Agency “included evidence of continuous intent by [Hovensa] and

[Limetree Bay] to restart the facility. Appx-69, Ex. C at 4.

     The intention to restart was also clear from Hovensa’s February 21,

2012, announcement “that it had completed the final idling of all refinery

units [and] informed the [U.S. Virgin Islands] government of its plans to

retain permits and implement maintenance procedures on the equipment

so that it could restart the refinery.” Id. Over the subsequent years,

Hovensa “spent over $400 million to maintain the restart capability of

[its] [r]efinery [operations], which included residual material from the

equipment, retaining control room operability, and conducting other

equipment mothballing activities.” Id.

     In contrast, Hovensa’s initial thoughts about using the refinery as

a storage terminal for a brief period of time underscores the unreliability

of using intent as an indicator of idling vs shutdown. See Record E-03 at

10. EPA acknowledged as much by conceding that Hovensa’s statements

were “simply a statement about the facts on the ground after the



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[R]efinery operations were idled while the other operations were not . . .

[and] does not appear in any way to define [Hovensa’s] permanent plans

for the facility.” Id.; see also Record E-03 at 7 (EPA recognizes that an

owner’s statements “may be made for other reasons, such as for the

purpose of business negotiations, and the cause of a shutdown may be

multifaceted or simply unknowable.”). Furthermore, EPA understood

that “factors, such as [the] owner statements and cause of the shutdown,

are highly dependent on the interpretation of the regulator and invite

speculation.” Id. at 7. This helps explain why, in 2020, EPA confirmed its

earlier determination that Hovensa and Limetree Bay “demonstrated a

continuous intent” to resume operations, id. at 9, only to have EPA, just

two years later completely reverse course. See Appx-21, Ex. A at 21.

     EPA can easily synthesize statements made by various participants

of the refinery’s decade-long saga, but, at bottom, the agency does not

know the subjective intent of the owner’s intentions unless the owner or

operator makes its intention clear to the agency. What is left for EPA is

nothing more than cherry-picked statements by the prior owners, aided

by extensive hindsight speculation. Ultimately, as EPA has recognized,

the Reactivation Policy is “difficult to apply and can lead to inconsistent



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results[] [because of the] subjective judgments of those applying the

[P]olicy.” Appx-78, Ex. D at 7.

  iii.       The refinery’s permits, maintenance and inspections
             during its hot idle

     The last two factors concern the status of the facilities’ permits and

the maintenance and inspections undertaken during the facility’s

shutdown. In re Monroe at 9.

     In terms of permits, Hovensa, Limetree Bay, and Port Hamilton all

held permits to operate the St. Croix refinery. EPA acknowledges that

the refinery’s permits “at first glance, appear[] potentially most

consistent with the determination that the refinery was not permanently

shut down in 2012.” Appx-21, Ex. A at 20. But then EPA tries to walk

back from that conclusion, alleging that “in light of changed

circumstances and new information related to the other factors . . . a more

detailed review of the structure of the permits, and subsequent

developments, suggest that” this factor does not “compellingly support a

determination that the refinery was not permanently shut down.” Id.

Specifically, EPA alleges that, although the refinery maintained its Title

V operating permit, its existing PSD permit, and its Clean Water Act

permit for the utilities shared by the refinery and the terminal, Hovensa’s


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“stated desire to avoid future New Source Review (NSR) permitting [did]

not demonstrate concrete plans to restart or overcome other actions that

speak to a permanent shut[]down.” Id. This is a non sequitur. Even under

EPA’s ill-defined Policy, it is Hovensa’s actions to keep the refinery fully

permitted and well-maintained for a restart that evidence its intent not

to permanently shut down, rather than whether the company might want

to avoid PSD for an unmodified, existing facility.

      Additionally, EPA attempts to include extraneous information

concerning air quality impacts in its assessment of facility owners’

intention to remain open. It states that “there are uncertainties about

whether the refinery would cause or contribute to violations of new or

revised [National Ambient Air Quality Standards (“NAAQS”)] and PSD

increments.” Id. at 9. The Agency further notes “there are no existing air

quality demonstrations to assess attainment of any of the new or revised

NAAQs that include projected emissions from the refinery.” Id. But at no

point does the agency explain how any of this information is relevant to

Limetree Bay’s or Port Hamilton’s intent to resume operations, or even

how it would be of any relevance to Hovensa’s intent nearly a decade

earlier.



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     EPA even suggests that “the vulnerable community neighborhood

the refinery has already experienced manifold health and environmental

impacts over decades from multiple sources[,] including from” Hovensa

and Limetree Bay. Id. at 10. Again, lacking any genuine support for its

new view on PSD permit status, EPA highlights important but irrelevant

matters to the question of the owners’ intent that the refinery to remain

operational.

     EPA also suggests Hovensa’s Territorial Pollution Discharge

Elimination System (TPDES) permit renewal application to the [Virgin

Islands Department of Planning and Natural Resources] reflects

Hovensa’s primary objective, to convert the refinery to an oil storage

terminal. Id. at 20. Even if this were true, which it is not as discussed

above, this factor of the Reactivation Policy is to determine the status of

facility’s permits, not the scope or terms of those permits. EPA offers no

evidence to refute a finding that Hovensa and Limetree Bay maintained

all the necessary permits to continue operations at the refinery. In fact,

EPA concedes that Hovensa, Limetree Bay, and Port Hamilton

maintained the necessary permits from the U.S. Virgin Islands

Department of Planning and Natural Resources. Id.



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     Although     EPA     acknowledges      Limetree      Bay     “provide[d]

maintenance records to EPA in 2018, which are referenced in EPA’s 2018

letter,” it now argues it did not consider “the underlying logs and records

that [Limetree Bay] transmitted to EPA on January 26, 2018,” three

months prior to the 2018 Determination. Appx-21, Ex. A. at 21-22. Yet

EPA’s 2020 Response to Comments appreciated the owners’ efforts to

properly maintain the refinery for restart. See Appx-78, Ex. D at 11

(noting that the “$400 million spent on maintenance by Hovensa”

demonstrated the “magnitude of . . . investment in maintenance of the

facility,” which “evidence[d] an intent by the owners to restart the

facility.”). EPA’s efforts to recharacterize these same logs and records as

evidence of poor maintenance of the refinery by Hovensa and Limetree

Bay between 2012 and 2017 are unpersuasive and do little to counter the

undisputed fact that the refinery remained in a hot idle mode.

E.   EPA’s 2022 Determination failed to consider important
     aspects of the problem.

     The 2022 Determination is also arbitrary and capricious because it

has “entirely failed to consider an important aspect of the problem.” See

Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43; see also Ams. Disabled for

Accessible Pub. Transp. v. Skinner, 882 F.2d 1184, 1201 (3rd Cir. 1989).


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Specifically, EPA has failed to consider the devastating effects its

Determination will have on the regional and local economy surrounding

the refinery. Nowhere in its 2022 Determination, or in its subsequent

letter of January 5, 2023, does it address these impacts. See Del. Dep’t of

Nat. Res. & Envtl. Control v. E.P.A., 785 F.3d 1, 11 (D.C. Cir. 2015)

(holding that courts will reverse agency actions that do not “engage the

arguments raised” before the agency).

     Many of these impacts are described in an October 13, 2021, report

from the U.S. Virgin Islands Bureau of Economic Research (“VIBER”),

which analyzed the repercussions of the refinery’s hardships since 2012.

See U.S.V.I. Bureau of Econ. Rsch., U.S. Virgin Islands Economic Impact:

Closing of Limetree Bay Refinery (Oct. 13, 2021) (hereinafter “VIBER

Report”). VIBER noted that the refinery “supported a total of 800 jobs,

$112 million in wages, $1.8 billion in sales, and $644 million of [the U.S.

Virgin Islands’] gross domestic product.” Id. at 3.

     Furthermore, VIBER contended that, while the refinery directly

made a “substantial economic contribution, it [also] played an arguably

valuable role in supporting many jobs, incomes, and businesses




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elsewhere in the economy through [its] supply chain activities and

household spending of earned income.” Id. at 6.

     U.S. Virgin Islands Governor Albert Bryan also has repeatedly

emphasized the impact of the refinery on the territory’s economy. When

Limetree Bay idled refinery operations in May 2021, Governor Bryan

specifically predicted a loss of “indirect employment such as trucking and

support services . . . and that some laid-off workers could lose their

homes.” Juliet Eilperin & Darryl Fears, Controversial St. Croix Refinery

Ceases Operations Given ‘Extreme Financial Constraints,’ Wash. Post

(June 21, 2021, 5:24 P.M.), https://www.washingtonpost.com/climate-

environment/2021/06/21/limetree-bay-refinery.




Issue III: An agency is permitted to change, or even reverse, a prior
     agency action, but its ability to do so is significantly constrained if
     a party has acted in reliance upon the prior action. Port Hamilton
     made a $62 million purchase, and then spent more than that same
     amount in the process of preparing the refinery to resume
     operations, in reliance upon EPA’s 2018 Determination, only to
     have that decision reversed in EPA’s 2022 Determination. EPA’s
     reversal of its 2018 Determination violated Port Hamilton’s
     protected reliance interests and therefore should be vacated.




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     When Port Hamilton acquired the St. Croix refinery in early 2022,

it did so in reliance upon EPA’s statements and actions demonstrating

that a PSD permit would not be needed to resume operations at the

refinery. First and foremost, Port Hamilton relied upon EPA’s 2018

Determination, which indicated that Port Hamilton could use the

refinery’s existing operating permits without going through PSD. EPA

unequivocally asserted that “resuming operations at of the [R]efinery’s

idled units . . . should not be treated as a new stationary source.” Appx-

21, Ex. A at 3 (emphasis added).

     Second, Port Hamilton’s reliance was further buttressed by EPA’s

2020 Response to Comments on Limetree Bay’s request for a plant-wide

emission standard at the St. Croix refinery, which confirmed the Agency’s

2018 Determination and called for an abandonment of the Reactivation

Policy given its inherent flaws. See Appx-78, Ex. D at 12; see also Appx-

69, Ex. C at 3 n.2. EPA found that Limetree Bay’s “continued” operation

of the refinery, its investment of “substantial sums in maintenance of the

idled portions” of the refinery, and its continued holding of permits

“governing the operation of the idled equipment”—the same operational




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permits Port Hamilton holds to this day—rebutted a presumption that

the refinery may have shut down. Appx-78, Ex. D at 12.

     Third, in May 2021, due to a series of environmental incidents that

caused pollutants to be released into nearby communities, EPA issued an

order pursuant to section 303 of the CAA, which required the refinery’s

compliance within 60 days. See Appx-194, Ex. E at 2 (Joint Stipulation);

see 42 U.S.C. § 7603. EPA then filed a complaint in the U.S. District Court

for the Virgin Islands, alleging Limetree Bay had failed to comply with

the CAA by operating the refinery poorly, leading to the environmental

incidents. The 2021 Joint Stipulation that stayed EPA’s complaint

specified what Limetree Bay needed to do before resuming operations at

the refinery; obtaining a new PSD permit was notably missing from the

list of requirements. See Appx-194, Ex. E.

     Fourth and finally, Port Hamilton’s reliance interests were

confirmed by EPA’s actions in authorizing Limetree Bay to restart the

refinery without a PSD permit. In purchasing the refinery, Port

Hamilton therefore justifiably relied on the Agency’s pronouncements

and actions—a reliance interest that EPA violated by reversing its

decision, which further renders EPA’s 2022 Determination arbitrary and



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capricious. Furthermore, it is inexcusable for EPA to wait four years to

revisit its prior determination, too. See Nat’l Ass’n of Trailer Owners, Inc.

v. Day, 299 F.2d 137, 139-40 (D.C. Cir. 1962) (“[I]f there is to be any

stability and fairness in administrative proceedings . . . [agencies’

reconsideration] power must be exercised both within a reasonable time

after the issuance of a final departmental decision and without subjecting

the parties affected by any undue or unnecessary hardships.”).

     “[W]hen . . . [an agency’s] new policy rests upon factual findings

that contradict those which underlay its prior policy; or when its prior

policy has engendered serious reliance interests,” such interest must be

examined by the Court. F.C.C. v. Fox Television Stations, Inc., 556 U.S.

502, 515 (2009). This is because a “[s]udden and unexplained change . . .

or change that does not take account of legitimate reliance on prior

interpretation . . . may be arbitrary, capricious [or] an abuse of

discretion.” Smiley v. Citibank (South Dakota), N.A., 517 U.S. 735, 742

(1996); 5 U.S.C. § 706(2)(A). Accordingly, although an agency’s initial

interpretation is not instantly carved in stone, an agency may only

“change its course [when] it can justify its change with a reasoned

analysis.” Horn v. Thoratec Corp., 376 F.3d 163, 179 (2004). The rationale



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EPA offers rings hollow because it focuses on whether it provided fair

notice of its reversal, rather than whether its reversal is justified in the

first place given Port Hamilton’s reliance interests.

     EPA first states that, before Port Hamilton purchased the refinery,

EPA placed a letter in a bankruptcy “reading room” to let any prospective

purchaser of the refinery know that it “may also be required to obtain a

[PSD] permit under the Clean Air Act to restart the refinery.” Appx-21,

Ex. A at 9 (emphasis added). That is the extent of what EPA offers in

terms of prior notice to Port Hamilton prior to its purchase of the refinery.

This statement, however, falls far short of stating that a PSD permit

would be required; a purchaser could readily agree that such a permit

might be required if the purchaser, prior to resuming refining operations,

were to modify any unit in a way that would be considered a ‘major

modification’ under the PSD regulations.

     Grasping at straws, EPA asserts that the “2018 [Determination]

sent a clear message that since EPA did not have all the specifics

regarding [Limetree Bay’s plans], a final determination would be left for

a later time.” Appx-21, Ex. A at 6; see Ex C at 9. However, the 2018

Determination was definitive, and EPA’s acquiescence with Limetree



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Bay’s 2020 resumption of refinery operations without a PSD permit

confirmed such. Until the 2022 Determination, EPA never changed its

views. See Appx-69, Ex. C at 3 (“Therefore, applying the criteria of the

current Reactivation Policy, we have determined that [Prior Owner’s

refinery] was not shut down and should not be considered a ‘new source’

for purposes of PSD applicability.”) (Emphasis added.)

     EPA first provided Port Hamilton some notice of its potential

change in position in a March 2022 letter, but even there EPA spoke only

of a potential PSD applicability to the refinery. See Appx-21, Ex. A at 9.

And by that time it was too late; Port Hamilton already had justifiably

relied on the Agency’s words and deeds and completed its purchase of the

refinery.

     Port Hamilton justifiably relied upon EPA when it invested more

than $62 million to purchase the plant and invested even more than that

amount to make the plant fully operational. EPA cannot nullify that

reliance interest by second-guessing its own earlier determination

regarding the application of PSD to the idled facility.

Issue IV: An agency action is final, providing the Court with jurisdiction
    to review the action, if it marks the consummation of the agency’s
    decision-making process and is one by which rights or obligations
    have been determined, or from which legal consequences will flow.


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     EPA’s 2022 Determination prohibits Port Hamilton from resuming
     operations at the refinery without first going through a multi-year
     PSD permitting process. EPA’s 2022 Determination was a final
     agency action, providing this Court with jurisdiction to review that
     action.

     Section 307(b) provides for judicial review of any action undertaken

by the Administrator under specifically enumerated provisions of the Act

and of “any other final action of the Administrator.” (Emphasis added.)

The Supreme Court has held that the phrase “final action” has the same

meaning under section 307(b)(1) that it has under the Administrative

Procedure Act. Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 478

(2001). Under both the Clean Air Act and the Administrative Procedure

Act, agency action is considered final for purposes of judicial review if it

(1) “marks the consummation of the agency’s decision[-]making process,”

and (2) is “one by which rights or obligations have been determined, or

from which legal consequences will flow.” Bennett v. Spear, 520 U.S. 154,

178 (1997); Biden v. Texas, 597 U.S. __, 142 S. Ct. 2528, 2544-45 (2022).

Ultimately, the “core question” is whether the agency has completed its

decision-making process and whether the result of that process will




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directly affect the parties. Franklin v. Massachusetts, 505 U.S. 788, 797

(1992).11

      The phrase “final agency action” is given “a pragmatic definition.”

Minard Run Oil Co. v. U.S. Forest Serv., 670 F.3d 236, 249 (3d Cir. 2011),

as amended (Mar. 7, 2012) (quoting Exxon Corp. v. F.T.C., 588 F.2d 895,

901-02 (3d Cir. 1978); see also U.S. Army Corps of Eng’rs v. Hawkes Co.,

Inc., 578 U.S. 590, 599 (2016) (holding that courts take a “pragmatic”

approach to this inquiry). This Court has identified five specific,

pragmatic considerations that can assist in determining whether agency

action is final:

      (1)   whether the decision represents the agency’s definitive
            position on the question;
      (2)   whether the decision has the status of law with the
            expectation of immediate compliance;
      (3)   whether the decision has immediate impact on the day-
            to-day operations of the party seeking review;

11 Because the finality inquiry is a pragmatic one, it does not matter that
the 2018 Determination has not been published in the Federal Register;
publication in the Federal Register is not a requirement for evaluating
whether agency action is final. See, e.g., Her Majesty the Queen in Right
of Ontario, 912 F.2d 1531 (D.C. Cir. 1990) (holding that two letters issued
by EPA were “final action” even though they were not published in the
Federal Register); Renewable Fuels Ass’n v. E.P.A., 948 F.3d 1206, 1214
(10th Cir. 2020) (similarly reviewing final agency action that was not
published in the Federal Register), rev’d sub nom. on other grounds,
HollyFrontier Cheyenne Ref., LLC v. Renewable Fuels Ass’n, 141 S. Ct.
2172 (2021).

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     (4)   whether the decision involves a pure question of law
           that does not require further factual development; and
     (5)   whether immediate judicial review would speed
           enforcement of the relevant act.

Minard Run Oil Co., 670 F.3d at 249 (citing Univ. of Med. and Dentistry

of N.J. v. Corrigan, 347 F.3d 57, 69 n.7 (3d Cir. 2003)); see also Ocean

Cty. Landfill v. E.P.A., 631 F.3d 652, 655 (3d Cir. 2011).12 Each of these

factors supports the conclusion that the 2022 Determination was a final

agency action.

F.   The 2022 Determination Represents EPA’s Definitive
     Position on Whether Port Hamilton Has to Go Through PSD
     Before Restarting

     When EPA issued the 2022 Determination to Port Hamilton, the

Assistant Administrator of EPA’s Office of Air and Radiation

communicated that the Agency had reached its decision after completing

a “detailed” evaluation of whether the refinery would require a PSD

permit. See Appx-21, Ex. A at 3. EPA was unequivocal in the 2022


12In Ocean County Landfill, this Court held that a “common control”
determination made by EPA in an air permitting matter was not final
agency action. 631 F.3d 652, 655. More specifically, this Court held that
EPA’s determination was merely an “intermediate step” and the state air
permitting authority may opt to reject EPA’s determination. Id. at 655-
56. Unlike the determination made by EPA in Ocean County Landfill, the
2022 Determination has an immediate impact on the day-to-day
operations at the St. Croix refinery and the determination was made by
the agency directly responsible for issuing the air permit at issue.

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Determination, stating “EPA has concluded that [Port Hamilton] is

required to apply for and receive a final and effective PSD permit prior to

resuming operations at the refinery or beginning actual construction as

defined in 40 C.F.R. 52.21(b)(11).” Id. at 1 (emphasis added).

     This Court has found similar determinations by EPA to constitute

final agency action. See, e.g., Harrison v. PPG Industries, Inc., 446 U.S.

578, 587 (1980) (EPA’s applicability determination deemed final agency

action because, “short of an enforcement action, EPA has rendered its

last word on the matter”); Star Enterprise v. E.P.A., 235 F.3d 139, 145

(3d Cir. 2000) (EPA’s determination that gas turbines at a refinery were

subject to regulation under the New Source Performance Standards of

the Clean Air Act was final agency action, reflecting the “consummation

of the agency’s decision[-]making process”).

     Here, EPA acknowledges that its 2022 Determination was the

consummation of its internal deliberations and decision-making process.

As stated in the 2022 Determination, Appx-21, Ex. A at 2-3:

     EPA has completed its review . . . and closely examined the facts

and circumstances of the refinery since it was shut down . . . . Based on

EPA’s analysis of the specific factors in the Reactivation Policy, we



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conclude that the refinery was completely shut down in 2012 and that

resuming operations at the refinery qualifies as construction of a new

major stationary source under federal PSD permitting regulations.

G.   The 2022 Determination Has the Status of Law with the
     Expectation of Immediate Compliance

     The 2022 Determination leaves no room for ambiguity as to its legal

import:

     [T]he refinery must apply to EPA for, and receive, a final
     effective PSD permit for these pollutants prior to resuming
     operations at or beginning actual construction at the refinery,
     as defined in 40 CFR 52.21(b)(11). The PSD permit
     application should include, among other information,
     analyses of air quality impacts, environmental justice, and
     Best Available Control Technology.

Id. at 4 (emphasis added). This language is not advisory. If Port Hamilton

were now to resume operations at the refinery without a PSD permit, it

would be subject to an immediate enforcement action by EPA.

     The 2022 Determination reflects the reality that “rights or

obligations have been determined” and “legal consequences will flow”

from EPA’s decision. See TSG Inc. v. E.P.A., 538 F.3d 264, 267 (3d Cir.

2008) (finding legal consequences where petitioner was obligated to abide

by a particular hazardous air pollutant control standard); Haw. Electric

v. E.P.A., 723 F.2d 1440, 1442 (9th Cir. 1984) (EPA’s decisions impacting


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even “interim step[s] in the PSD permitting process,” such as EPA’s

actions on a permit application, can constitute final agency action

because they have “immediate legal consequences.”) (emphasis added).

     The 2022 Determination does what all agency final actions do—“[i]t

commands, it requires, it orders, and it dictates.” Appalachian Power Co.

v. E.P.A. 208 F.3d 1015, 1023 (D.C. Cir. 2000) (holding that EPA guidance

has legal consequences and is therefore reviewable as final agency

action). Withholding judicial review in such cases would “force a party . .

. to comply with an agency ruling that it believes unlawful.” Roosevelt

Campobello Intern. v. E.P.A., 684 F.2d 1034, 1040 (1st Cir. 1982).

H.   The 2022 Determination Has an Immediate Impact on the
     Day-to-Day Operations of Port Hamilton

     EPA’s conclusion that the St. Croix refinery must go through a PSD

permit process before it can be restarted has had immediate, concrete,

and costly consequences for Port Hamilton. To comply with EPA’s PSD

regulations, Port Hamilton must delay the resumption of operations of

its refinery for two to three years, model its potential future emissions,

and assess and install controls for the Best Available Control Technology

(“BACT”) for each of the units to be restarted. See generally 40 C.F.R. pt.

52 (PSD regulatory requirements); see also Appx-21, Ex. A at 4.


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     Left undisturbed, the 2022 Determination means Port Hamilton

likely would have to wait until 2026 or later before resuming operations.

This possible delay, coupled with the uncertainty of the PSD permitting

process outcome, jeopardizes Port Hamilton’s plans to resume the

refinery’s operations and threatens its very existence. An extended

schedule also adds substantial costs which may render this project

uneconomical. If the resumption of operations is delayed, Port Hamilton

may have to abandon its plans and shut down and dismantle the refinery,

which would devastate the local economy and eliminate jobs and tax

revenue. See Appx-64, Ex. B (Chambers Decl.) at ¶¶12, 14-15; see also

U.S. Virgin Islands, Bureau of Economic Research, U.S. Virgin Islands

Economic Impact: Closing of Limetree Bay Refinery (Oct. 13, 2021),

https://usviber.org/document/economic-impacts-of-the-limetree-bay-

closing.

I.   The 2022 Determination involves a pure question of law that
     does not require further factual development

     The basic facts and circumstances behind the idling of the St. Croix

refinery are not in dispute. While Port Hamilton may take issue with

EPA’s characterization of certain events or its omission of other

important facts in the 2022 Determination—including its attachments—


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Port Hamilton’s disagreements derive more from misplaced conclusions

EPA reaches based on that history. No further factual development will

alter the EPA’s conclusion.

J.   Immediate judicial review would speed Port Hamilton’s
     ability to restart

     The St. Croix refinery is at a crossroads. If Port Hamilton is able to

resume operations—as EPA repeatedly agreed to allow in the past—the

refinery would bring back additional workers to expeditiously support

operations, subject to the safety and environmental requirements of its

operating permit issued by the U.S. Virgin Islands Department of

Planning and Natural Resources. See Appx-203, Ex. F (U.S. Virgin

Islands Department of Planning and Natural Resources “VIDPNR”

Permit). If Port Hamilton is unable to proceed with its plan, however, the

refinery will, at best, delay operations for years or, at worst, commence

the closure and dismantling of this important energy provider and

economic contributor. See supra VIBER Report. Given the terms of the

2022 Determination, the fate of the St. Croix refinery now depends

entirely on access to, and the outcome of, judicial review.




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           CONCLUSION AND RELIEF REQUESTED

     For the foregoing reasons, this Court should vacate the 2018

Determination.

Date: February 24, 2023                   Respectfully submitted,

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                COMBINED CERTIFICATIONS

     I hereby certify that:

BAR MEMBERSHIP

     I am a member in good standing of the bar of this Court.

WORD COUNT AND TYPE FACE

      This brief complies with the type-volume limitation of Fed. R.
App. P. 32. It contains fewer than 12,500 words, excluding the parts
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32(a)(6) because it has been prepared in a proportionally spaced
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      I certify that ESET NOD32 Antivirus, version 9.1.2063.0,
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2023, was run on the electronic file and that no virus was
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SERVICE

       On February 24, 2023, I served the Response to Requested
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                                        As to all certifications




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